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                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA


_______________________________
DONNA TURNER                   )
                                )                    Case Number: 10-839
            Plaintiff           )
                                )                    CIVIL COMPLAINT
            vs.                 )
                                )
PORTFOLIO RECOVERY              )
ASSOCIATES, LLC                 )
                                )
            Defendant           )
_______________________________)


                               NOTICE OF DISMISSAL


       PLEASE TAKE NOTICE that plaintiff, Donna Turner, pursuant to Rule

41(a)(1)(i) of the Rules of the United States District Court, hereby dismisses the action

captioned above, with prejudice.




                              BY:_/s/ Bruce K. Warren
                                     Bruce K. Warren, Esquire
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